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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

PAULJONES
Plaintiff                                   Civil Action No . l :19-cv-11076-FDS
          V.

DOLAN CONNL Y P. C et al


             VERIFIED MOTION FOR ENTRY OF DEFAULT JUDGMENT
                     FOR FAILURE TO APPEAR AND PLEAD

Defendant Or/ans P. C, having been served with process at their current address and or registered

agent, failing to answer or plead to Plaintiff Paul Jones Amended Complaint filed with this

Court, and the Entry of Default having been entered herein and Defendant is not an infant or

incompetent person.


In considering whether to enter a default judgment as to only one of several

defendants, the Court should consider the claims against these defendants are individually (See

Frow v. De La Vega, 82 U.S . 552, 554 (1872). Plaintiffs claims against defendants Or/ans P.C.

the claims are indisputably individually and the claims against defendants Or/ans P. C, are

articulated as against them individually.



The complaint alleged claims of Federal Debt Collection Practices Act FDCPA), Massachusetts

Unfair & Deceptive Trade Practices Act MGL 93A. , Failure to comply with paragraph 22 of the

Mortgage (MORTGAGE POWER OF SALE), VIOLATION OF GL c. 244, §§ 35B and 35C

and the Massachusetts Debt Collection Regulation Act 940 CMR 7:00. 9 Plaintiff seeks no

monetary damages for Massachusetts Debt Collection Regulation Act 940 CMR 7:00.
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           WHEREFORE, Plaintiff prays that this Court enter a default judgment in his favor
against Defendants Or/ans P. C,

        IT IS HEREBY ORDERED, ADJUDGED AND DECREED that Plaintiff shall recover

from Defendant Orlans P.C, let execution issue the judgment as follows .


Plaintiff states as follows :


        1. Court Costs and Fees (Filing of complaint 1/3 of$450) ............. .. .... $150.00

        2. Service of Summons, Complaint & postage .......... .................... .... $12.00

        3. Count I-Violation of the Federal Debt Collections Practices Act(Orlans P .C) .. .$1,000

        4. Count II-FAILURE TO COMPLY WITH PARAGRAPH 22 OF THE MORTGAGE

              .................. .. ........................................................... ..... .. $4,000

        5. Count III-Violation of Massachusetts Unfair & Deceptive Trade Practices Act MGL

            93a (Orlans P.C)

            plaintiffs total request is ... .. .......... ......... . ..... ... .................. . ..... $5,000

        6. Count VI- VIOLATION OF GL c. 244, §§ 35B and 35C .................. .$4000


         Total Amount requested ..... . .. . ......... .... ............ .. ... ...... ....... ..... $14,162


The post judgment interest rate effective this date is O.15

 Paul Jones                 /s/ Paul Jones

572 Park Street

Stoughton, Ma 02072

Tel: 617-939-5417

Pj22765@gmail.com

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                                 CERTIFICATE OF SERVICE

        I hereby certify, under the penalties of perjury, that on this date of September 13, 2019, I

have made service of a copy of the document herein upon the attorney of record and or the

registered agent that is on record at the Massachusetts Registry of deed for Orlans P.C. by

certified mail.


Respectfully Submitted

Paul Jones            Isl Paul Jones

572 Park Street

Stoughton, Ma 02072

Tel: 617-939-5417

Pj22765@gmail.com



JULIE MORAN (Orlans P.C Registered Agent)

465 Waverly Oaks Roads

Waltham, MA 02452
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                   VERIFICATION AND CERTIFICATION
              AFFIDAVIT (OR DECLARATION) IN SUPPORT OF
       REQUEST FOR ENTRY OF DEFAULT JUDGMENT FOR SUM CERTAIN
                        STATE OF MASSACHUSETTS
                     Plaintiff, Paul Jones, states as follows


I am the plaintiff (Paul Jones) in this civil proceeding (Civil Action No . 1:19-cv-11076-FDS)
and make this Affidavit to show the fact and manner of compliance with the provisions of Rule
55ofthe FRCP.


I believe that this motion for Entry of Default Judgment is not interposed for any improper
purpose, such as to harass any Defendant(s), cause unnecessary delay to any Defendant(s), or
create a needless increase in the cost oflitigation to any Defendant(s), named in this motion for
Entry of Default Judgment.


I have filed this motion for Entry of Default Judgment in good faith and solely for the purposes
set forth in it. I validly served the defendant according to the law in the State of Massachusetts
by sending a copy of the Summons & Complaint to Orlans P .C registered agent (See Exhibit 1 &
See Dck # 22),
Summons was returned executed on Orlans P .C on June 7, 2019 answer was due on June 28,
2019, the clerk defaulted defendant Orlans P .C on August 21 , 2019 (See Dck # 41).


Defendant Orlans P .C has failed to plead or otherwise defend Plaintiff's Complaint within the
time required by the Massachusetts Federal Rules of Civil Procedure or as permitted by any
extension.

Upon information and belief, Defendant Orlans P .C is not an infant or incompetent, nor in active
military service.


Pursuant to 28 U.S.C. § 1746(2), I, Paul Jones, hereby declare (or certify, verify or state) under
penalty of perjury that the foregoing statements are true and correct in this motion for Entry of
Default Judgment.


Paul Jones       Isl Paul Jones
572 Park Street
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